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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

MICHAEL BURNETTE,                                    §
                                                     §
                Plaintiff,                           §
                                                     §
v.                                                   §                   1:17-CV-705-RP
                                                     §
DELL MARKETING, L.P.,                                §
                                                     §
                Defendant.                           §

                                                ORDER

        Before the Court is Defendant Dell Marketing, L.P.’s (“Dell”) motion to dismiss, (Dkt. 26).

After reviewing the pleadings, briefs, and relevant law, the Court finds that the motion should be

granted. Plaintiff will be given leave to amend his complaint.

                                         I. BACKGROUND

        Plaintiff Michael Burnette brings claims against Dell for breach of contract, breach of duty

of good faith and fair dealing, intentional infliction of emotional distress, and violation of the

Tennessee Public Protection Act (Compl., Dkt. 1-1, ¶¶ 38–67). Burnette alleges that Dell breached

his employment agreement by failing to pay him commissions Dell owed him and by terminating

him in retaliation for bringing this failure to Dell’s attention. (Id. ¶¶ 40–41). The breach of duty of

good faith and fair dealing claim arises from Burnette’s allegation that Dell wrongfully discharged

Burnette, forged his signature on documents, and fabricated additional documents to make his

termination appear legitimate. (Id. ¶¶ 44–46). The allegation of forged signatures and fabricated

documents also forms the basis for Burnette’s intentional infliction of emotional distress claim. (Id.

¶¶ 52–55). Finally, Burnette claims that Dell violated the Tennessee Public Protection Act by

discharging Burnette “for reporting pay issues and discussing pay issues with other employees,” (id.

¶ 58), in a manner that violated the National Labor Relations Act (“NLRA”). (Id. ¶ 59).


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         The action was originally filed in Tennessee state court, subsequently removed by Dell to

federal court, (Notice of Removal, Dkt. 1), and finally transferred to this court on motion by Dell.

(Transfer Order, Dkt. 16). After the case was transferred, Dell filed its motion to dismiss. (Dkt. 26).

The Court permitted Burnette additional time to respond to the motion while he sought local

counsel after his Tennessee attorney was denied permission to appear pro hac vice in this district. (Dkt.

30). Several months later, the Court ordered Burnette to file a status update with the Court by

January 26, 2018, concerning the status of his attempt to find new counsel. (Dkt. 32). Burnette failed

to do so. The Court then issued an order stating that if Burnette did not notify the Court of the

status of his search for new counsel by March 12, 2018, his action would be dismissed. (Dkt. 33). On

March 13, 2018, Burnette filed a response to Dell’s motion to dismiss, in which he indicated that he

was unable to find local counsel and would be proceeding pro se. (Dkt. 34). Dell filed its reply on

March 20, 2018. (Dkt. 35).

         Although Burnette failed to comply with the deadline for responding to Dell’s motion to

dismiss,1 because he is pro se, the Court will, out of an abundance of caution, consider the motion on

its merits.

                                             II. LEGAL STANDARD

         Pursuant to Rule 12(b)(6), a court may dismiss a complaint for “failure to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “To survive a Rule 12(b)(6) motion to dismiss,

a complaint ‘does not need detailed factual allegations,’ but must provide the [plaintiff’s] grounds for

entitlement to relief—including factual allegations that when assumed to be true ‘raise a right to

relief above the speculative level.’” Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (citing Bell Atl.


1 Dell’s motion to dismiss, although filed after its answer, will be considered, too. Rule 12(b) generally requires that a
motion to dismiss be filed before an answer, but Dell preserved its right to bring a motion to dismiss by raising failure to
state a claim, (Answer, Dkt. 7, at 8), as an affirmative defense in its answer. See Delhomme v. Caremark Rx Inc., 232 F.R.D.
573, 575 (N.D. Tex. 2005) (“[S]everal courts interpreting Rule 12(b)(6) have chosen to consider a post-answer motion to
dismiss as properly before the court as long as the movant also raised the defense of failure to state a claim in his or her
answer.”).

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Corp. v. Twombly, 550 U.S. 544, 555 (2007)). That is, “a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). “The tenet that a court must accept as true

all of the allegations contained in a complaint is inapplicable to legal conclusions. Threadbare recitals

of the elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id.

The Court construes the facts alleged in the complaint “in the light most favorable to the

nonmoving party.” Turner v. Pleasant, 663 F.3d 770, 775 (5th Cir. 2011).

                                                   III. DISCUSSION

         Burnette brings claims for breach of contract, breach of the duty of good faith and fair

dealing, intentional infliction of emotional distress, and violation of the Tennessee Public Protection

Act. The Court finds that all of his claims should be dismissed. The Court will grant Burnette the

opportunity to amend his complaint and attempt to fix its deficiencies.

         A. Breach of Contract

         Burnette has failed to state a claim for breach of contract.2 Under Texas law, a breach-of-

contract plaintiff must allege (1) the existence of a valid contract; (2) performance by the plaintiff;

(3) breach by the defendant; and (4) damages to the plaintiff stemming from the breach. Smith Intern.,

Inc. v. Egle Group, LLC, 490 F.3d 380, 387 (5th Cir. 2007) (citing Valero Mktg. & Supply Co. v. Kalama

2 The Court applies Texas law. Normally, in a diversity case transferred from another state pursuant to 28 U.S.C.
§ 1404(a), the Court would apply the law of the transferor state. Van Dusen v. Barrack, 376 U.S. 612, 639 (1964)
(“[W]here the defendants seek transfer, the transferee district court must be obligated to apply the state law that would
have been applied if there had been no change of venue.”). Applying this principle to the rule announced in Klaxon Co. v.
Stentor Electric Mfg. Co., 313 U.S. 487, 496 (1941), the Court would also apply the choice-of-law rules of Tennessee if
necessary. See Lafferty v. St. Riel, 495 F.3d 72, 76 (3d Cir. 2007) (finding that when “[f]aced with a choice-of-law question,
federal courts in the district to which the case has been transferred under § 1404(a) must apply the law of the transferor
state”). However, the normal rule does not apply here because this case was transferred from Tennessee to Texas as the
result of a forum-selection clause. See Atl. Marine Const. Co. v. U.S. Dist. Court for W. Dist. of Texas, 571 U.S. 49, 65 (2013)
(“The policies motivating our exception to the Klaxon rule for § 1404(a) transfers, however, do not support an extension
to cases where a defendant’s motion is premised on enforcement of a valid forum-selection clause.”); see also id. at 65–66
(“The court in the contractually selected venue should not apply the law of the transferor venue to which the parties
waived their right.”). The Tennessee court transferred this case to this Court because a forum-selection clause in a
contract between the parties chose Texas as the sole forum in which to bring claims arising under the contract. (Transfer
Order, Dkt. 16, at 3). The Tennessee court even cited to Atlantic Marine in its order. (Id.). Accordingly, the Court applies
Texas law to the common-law claims.

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Int’l, 51 S.W.3d 345, 351 (Tex. App.—Houston [1st Dist.] 2001, no pet.). Dell contends that because

Burnette has not stated which portion of the contract he claims was breached, his breach-of-

contract claim should be dismissed.

        Burnette has not identified how the actions allegedly taken by Dell (underpaying him and

terminating him in retaliation for bringing his underpayment to Dell’s attention) have breached a

contract. Burnette attached the contract he claims is at issue to the complaint. (Compl., Dkt. 1-1, ¶

38 (“A copy of this agreement is attached and incorporated as Exhibit 5.”)). This document is

therefore part of the pleadings and properly before the Court in its ruling on the motion to dismiss.

Cf. Causey v. Sewell Cadillac-Chevrolet, Inc., 394 F.3d 285, 288 (5th Cir. 2004) (“Documents that a

defendant attaches to a motion to dismiss are considered part of the pleadings if they are referred to

in the plaintiff’s complaint and are central to her claim.”).

        Burnette contends that Dell breached a contract by failing to pay him money he was owed

and by firing him in retaliation for complaining about Dell’s failure to pay him. (Compl., Dkt. 1-1,

¶¶ 40–41). But this particular document cannot support this claim. It is a two-paragraph document

titled “Employee Acceptance,” in which Burnette’s signature appears, acknowledging that he has

read Dell’s code of conduct (titled “Winning with Integrity”), agrees to abide by it, and understands

that he is employed by Dell at will. (Employee Acceptance, Dkt. 1-1, at 29). The Employee

Acceptance does not contain any language concerning commissions or circumstances under which

Dell may not terminate Burnette’s employment. Nor does Burnette allege that it does. Burnette does

not provide any other explanation for how the two paragraphs in the Employee Acceptance he

attached to his complaint support his claim for breach of contract. Because his complaint explicitly

states that it is based on the document attached to the complaint, but that document does not

contain the language required to sustain his claim, he cannot bring a breach-of-contract claim based

on the failure to comply with that document. Burnette does not “identify what provisions were


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breached or provide factual allegations about the terms” of the contract. See Innova Hosp. San Antonio,

L.P. v. Blue Cross & Blue Shield of Georgia, Inc., 995 F. Supp. 2d 587, 603 (N.D. Tex. 2014) (dismissing

without prejudice a breach-of-contract claim for failing to identify the manner in which a contract

was breached). His complaint cannot be said to “raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 555. These “naked assertions devoid of further factual enhancement,” Iqbal, 556

U.S. at 678 (citation and quotation marks omitted), are not sufficient to state a claim upon which

relief can be granted. Accordingly, Burnette’s breach-of-contract claim should be dismissed.

        B. Good Faith and Fair Dealing

        Burnette also alleges in his complaint that his termination constituted a breach of Dell’s

good faith and fair dealing duty. However, as Dell notes, there is no such duty in an employment

relationship under Texas law. City of Midland v. O’Bryant, 18 S.W.3d 209, 216 (Tex. 2000) (holding

that “there is no duty of good faith and fair dealing in the employment context”). This claim should

therefore be dismissed.

        C. Intentional Infliction of Emotional Distress

        Burnette’s claim for intentional infliction of emotional distress also fails. Texas has

recognized a cause of action for intentional infliction of emotional distress, as set out in the Second

Restatement of Torts. Twyman v. Twyman, 855 S.W.2d 619, 622 (Tex. 1993) (adopting “the tort of

intentional infliction of emotional distress as set out in § 46(1) of the RESTATEMENT (SECOND) OF

TORTS”). A plaintiff bringing this claim must show that “(1) [the defendant] acted intentionally or

recklessly; (2) its conduct was extreme and outrageous; (3) its actions caused her emotional distress;

and (4) the emotional distress was severe.” Kroger Texas Ltd. P’ship v. Suberu, 216 S.W.3d 788, 796

(Tex. 2006). As the Restatement puts it, a successful claim for intentional infliction of emotional

distress is “one in which the recitation of the facts to an average member of the community would




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arouse his resentment against the actor, and lead him to exclaim, ‘Outrageous!’” RESTATEMENT

(SECOND) OF TORTS § 46 cmt. d (1965).

        Burnette alleges that Dell intentionally inflicted emotional distress upon him by

“intentionally or at least recklessly engag[ing] in the forging of employment documents to fire Mr.

Burnette and cause the denial of his unemployment benefits.” (Compl., Dkt. 1-1, ¶ 52). According to

Burnette, this action caused him to lose his job and as a result he has “suffered serious mental injury,

pain and suffering.” (Id. ¶ 55). Dell contends that Burnette has failed to adequately allege an act

egregious enough to satisfy the high bar of outrageousness.

        Taking the facts alleged in the complaint as true and drawing inferences in Burnette’s favor,

Burnette has not demonstrated entitlement to relief on the basis of this claim. “Meritorious claims

for intentional infliction of emotional distress are relatively rare precisely because most human

conduct, even that which causes injury to others, cannot be fairly characterized as extreme and

outrageous.” Suberu, 216 S.W.3d at 796. “Only ‘in the most unusual of circumstances’ is conduct so

extreme and outrageous that it is removed from the realm of ordinary employment disputes.” Wal-

Mart Stores, Inc. v. Canchola, 121 S.W.3d 735, 741 (Tex. 2003) (quoting GTE Sw., Inc. v. Bruce, 998

S.W.2d 605, 612 (Tex. 1999)). Even wrongful “termination of an employee does not, standing alone,

constitute intentional infliction of emotional distress.” City of Midland v. O’Bryant, 18 S.W.3d 209, 217

(Tex. 2000). “Rude behavior does not equate to outrageousness, and behavior is not outrageous

simply because it may be tortious.” Natividad v. Alexsis, Inc., 875 S.W.2d 695, 699 (Tex. 1994)

(declining to find intentional infliction of emotional distress where an insurer “fabricated excuses of

lost files and computer malfunctions” and treated the plaintiff rudely when she called).

        Cases with facts similar to those alleged here indicate that the allegations in Plaintiff’s

complaint cannot sustain an action for intentional infliction of emotional distress. Dell cites an

unpublished opinion by the United States Court of Appeals for the Fifth Circuit in which the court


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upheld the grant of summary judgment in favor of an employer where the plaintiff brought a claim

for intentional infliction of emotional distress against his former employer and alleged that the

employer forged documents. See Morrison v. Weyerhaeuser Co., 119 F. App’x 581, 587–88 (5th Cir.

2004) (“Even if the alleged forgery was illegal or unethical, or the termination was unlawful under

the ADEA, that does not necessarily make it sufficiently extreme and outrageous to support a claim

for [intentional infliction of emotional distress].”). The Texas Supreme Court has ruled that even an

employer who conducted a post-termination vendetta against a former employee (including refusing

to give her a reference letter, instructing other employees not to speak to her, and forcing her

eviction from the apartment she had been sharing with an employee of the company) in retaliation

for her refusing his sexual advances was not liable for intentional infliction of emotional distress. See

Creditwatch, Inc. v. Jackson, 157 S.W.3d 814, 817–18 (Tex. 2005) (“Assuming all this is true, it was

callous, meddlesome, mean-spirited, officious, overbearing, and vindictive—but not ‘so outrageous

in character, and so extreme in degree, as to go beyond all possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized community.’”) (quoting Hoffmann-La Roche

Inc. v. Zeltwanger, 144 S.W.3d 438, 445 (Tex. 2004)).3 Given the high bar imposed by Texas law on

what constitutes sufficiently “outrageous” behavior, the Court finds that Burnette has failed to plead

facts that support a claim for intentional infliction of emotional distress. Accordingly, this claim

should be dismissed.

         D. Tennessee Public Protection Act

         Burnette’s final claim arises under the Tennessee Public Protection Act. He alleges that Dell

fired him “because he reported pay issues and discussed pay issues with other employees at Dell.”

3 The court also relied upon an alternative rationale to dispose of the claim: the tort of intentional infliction of emotional
distress is a “gap-filler” tort and cannot be used to “supplant or duplicate existing statutory or common-law remedies.”
Creditwatch, 157 S.W.3d at 816. The court found that the plaintiff inappropriately attempted to use the tort when there
was no gap to fill because another remedy existed for her alleged harm. Id. (“As her complaints are covered by other
statutory remedies, she cannot assert them as intentional infliction claims just because those avenues may now be
barred.”).


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(Compl., Dkt. 1-1, ¶ 63). He also contends that this was done in violation of his right under the

NLRA to “discuss pay issues with other employees at Dell.” (Id. ¶ 59). Dell contends that this claim

should be dismissed because it is preempted by federal law.

        The Garmon doctrine dictates that “[s]tates may not regulate activity that the NLRA protects,

prohibits, or arguably protects or prohibits.” Wisconsin Dep’t of Indus., Labor & Human Relations v.

Gould Inc., 475 U.S. 282, 286 (1986) (articulating the “general rule set forth in San Diego Building Trades

Council v. Garmon,” 359 U.S. 236 (1959)). The Garmon rule prohibits states from regulating labor

relations in a manner inconsistent with the NLRA, “but also from providing their own regulatory or

judicial remedies for conduct prohibited or arguably protected by the Act.” Id.

        The Court finds that Burnette’s Tennessee statutory claim is barred by the Garmon doctrine

and therefore preempted by the NLRA. Burnette contends on the face of his complaint that the

conduct complained of that forms the basis for the claim—to “discuss pay issues with other

employees at Dell,” (Compl., Dkt. 1-1, ¶ 63)—is protected under the NLRA. Courts have

recognized that an employer’s prohibition of an employee’s speaking about wages with other

employees may be a violation of Section 7 of the NLRA. See N.L.R.B. v. Alternative Entm’t, Inc., 858

F.3d 393, 408 (6th Cir. 2017), rev’d on other grounds, Epic Sys. Corp. v. Lewis, — U.S. —, Nos. 16-285,

16-300, 16-307, 2018 WL 2292444 (May 21, 2018) (upholding the NLRB’s finding that an employer

violated Section 7 of the NLRA by forbidding an employee from “discussing compensation” with

fellow employees); see also Brockton Hosp. v. N.L.R.B., 294 F.3d 100, 107 (D.C. Cir. 2002) (upholding

the NLRB’s decision finding that an employer violated Section 7 when its policy forbidding the

employees from discussing information concerning themselves could be “reasonably read to include

their wages, hours, and working conditions”). Because the facts underlying this claim are clearly

covered by Section 7 of the NLRA, the claim under the Tennessee Public Protection Act is

preempted and must be dismissed.


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        E. Leave to Amend

        Burnette requests leave to amend his complaint if the Court grants the motion to dismiss.

The Court “should freely give leave” to amend a complaint “when justice so requires.” Fed. R. Civ.

P. 15(a)(2). Although the Rule “evinces a bias in favor of granting leave to amend,” Matter of

Southmark Corp., 88 F.3d 311, 314 (5th Cir. 1996), leave to amend “is not automatic.” Id. In

exercising its discretion to decide whether to grant leave to amend, the Court may consider factors

including “undue delay, bad faith or dilatory motive on the part of the movant, repeated failure to

cure deficiencies by amendments previously allowed, undue prejudice to the opposing party, and

futility of amendment.” Id. at 315. Dell has not demonstrated the presence of any of these factors;

although it requests dismissal with prejudice, it has not provided the Court with a reason for denying

leave to amend, apart from a general assertion that the complaint should be dismissed as a result of

Burnette’s failure to comply with deadlines. (See generally Reply, Dkt. 35).

        The Court finds that Burnette should have the opportunity to amend his complaint.

Although he did not file a timely response to the motion to dismiss, Dell has not pointed to any

other factors to support denying leave to amend. Accordingly, Burnette may amend his complaint.

                                         IV. CONCLUSION

        For the foregoing reasons, Dell’s motion to dismiss, (Dkt. 26), is GRANTED. Burnette may

file an amended complaint. He must do so on or before July 5, 2018.

        SIGNED on June 18, 2018.



                                               _______________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE




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